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                                                                                                                                         OMB No. 1140-0020
U.S. Department of Justice
Bureau of Alcohol, Tobacco, Firearms and Explosives                             Firearms Transaction                 Record Part I —~
                                                                                Over-the-Counter                                                 v
WARMING: You may not receive a firearm if prohibited by Federal or State law. The information you provide will                     Transferor's Transaction
be used to determine whether you are prohibited under law from receiving a firearm. Certain violations of the Gun                  Serial Number (Ifany)
Control Act, 18 U.S.C. §§ 921 et, seq., are punishable by up to 10 years imprisonment and/or tip to a $250,000 fine.

Prepare in original only. All entries must be handwritten in ink. Read the Notices, Instructions, and Definitions on
this form."PLEASE PRINT."
                                       Section A - Must Be Completed Personally By Transferee(Buyer)
 1. Transferee's Full Name
 Last Name                                       First Name                                        Middle Name(Ifno »riddle name, state `NMN
                                                                                                                                           )

                                                           Own
2. Current Resi~ence ddress (U.S. Postal abbreviations are acceptable. Cannot be a post office box.)
Number and Street Address                     City                                        County                                 State    ZIP Code
                                                                                                                                                         r
                  ~
                  )               ~ \'UR               V A)N&1 ~05                                                                MM
3. Place of Birth                                                  4. Height    5. Weight     6. Gender 7. Birth Date
U.S. City and State            -OR-     Foreign Country             Ft            ( Lbs)         Male    Month        Day                     Year

 51~A t(w               -t)<                                     In.               Ob            Female ❑         oa--           kD,           k9g l
8. Social Security umber (Optiotral
                              11    but will help prevent misidentification)     9. Unique Personal Identification Number(UPIN) if applicable (See
                                                                                    Instructionsfor Question 9.)

 10. Race (Ethnicity)(Check one ~ 1nol1e boxes. See Instructionsfor Question: 10.)
     n American Indian or Alaska,Naiive                        Black or African American                          Native Hawaiian or Other Pacific Islander
                                   ,;3,
                                                                                                                  White
     ❑ Hispanic or Latino                                       Asian
1 1. Answer questions l l.a.(see exceptions)through 11.1. and 12(inapplicable) by checking or marking `des"or "na"in the boxes to the right ofthe questions.
a. Are you the actual transferee/buyer of the firearm(s) listed on this form? Warning: You are not the actual buyer if you are                           y    No
     acquiring the firearm(s)on behalf of another person. If you are not the actual buyer, the dealer cannot transfer the firearm(s)                          ]
                                                                                                                                                              [
     to you. (See Instructionsfor Question l La)Exception: Ifyou are picking tip a repairedferearnr(s)for another person, you are not
     required to answer Il.a. and may proceed to question 11.6.
 b. Are you under indictment or information in any court for a felony, or any other crime, for which the judge could imprison you for                   Yn~es N{
      more than one year? (See Instructionsfor Question 11.b.)                                                                                                u
c. Have you ever been convicted in any court of a felony, or any other crime, for which the judge could have imprisoned you for more Yes N
     than one year, even if you received a shorter sentence including probation? (See Instrrtctionsfor Question ll.c.)                                   ❑
d. Are you a fugitive from justice?
                                                                                                                                                       0
e. Are you an unlawful user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or any other controlled substance? Yes Nq

f. Have you ever been adjudicated mentally defective (which includes a determination by a court, board, commission, or other lawful
   authority that you are a danger to yourselfor to others or are incompetent to manage your own affairs) OR have you ever been
   committed to a mental institution? (See Instructions for Question! If)                                                                        O      IJ
                                                                                                                                                 Yes    N
g. Have you been discharged from the Armed Forces under dishonorable conditions?
h. Are you subject to court order restraining you from harassing, stalking, or threatening your child or an intimate partner or child of         Yes    N
   such partner? (See Instructionsfor Question ll.h.)                                                                                            El
i.   Have you ever been convicted in any court of a misdemeanor crime ofdomestic violence? (See Instructionsfor Question 113)                    Q

j. Have you ever renounced your United States citizenship?                                                                                       a
                                                                                                                                                        2
                                                                                                                                                 Yes    N
k. Are you an alien illegally in the United States?

1.   Are you a nonimmigrant alien? (See Instructionsfor Question 11.1) Ifyou answered "no" to this question, do NOT respond to                 Yes N
     question 12 and proceed to question 73.                                                                                                   1:1
12. If you are a nonimmigrant alien, do you fall within any of the exceptions set forth in the instructions?(If"yes," the licensee must        Yes No
     complete question 20d.) (See Instructionsfor Question 12)Ifquestion 111 is answered with a "na "response, then do NOT
     respond to question 12 and proceed to question 13.
 13. What is your State ofresidence 14. What is your country of citizenship? (List/check more than 15. if you are not a citizen ofthe United States,
   (  fairy)? (See Instructionsfor       one, ifapplicable. ifyou are a pttlzen ofthe United States,         what is your U.S.-issued alien number or
     Question 13.)                       proceed to question 16.) ~   CJi United States ofAmerica            admission number?
    ` vu
    , Q-\Jj 1 "`q--Ki cc)               []Other (Specify)
Note: Previous Editions Are Obsolete                 Transferee(Buyer) Continue to Next Page                                 ATF Fotm 4473(5300.9)Part 1
                                                    STAPLE    IF  PAGES   BECOME       SEPARATED                             Revised August 2008
Page I of6


                                                                                                                                           USA00012133
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I certify that my answers to Section A are true, correct, and complete. I have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. I understand that answering "yes" to question 1 La. if 1 am not the actual buyer is a crime punishable as a felony under
Federal law, and may also violate State and/or local law. I understand that a person who answers "yes" to any of the questions l l.b. through
I l.k. is prohibited from purchasing or receiving a firearm. I understand that a person who answers "yes" to question 11.1, is prohibited from
purchasing or receiving a firearm, unless the person also answers ",yes" to question 12. I also understand that snaking any false oral or
written statement, or exhibiting any false or misrepresented identification with respect to this transaction, is a crime punishable as a felony
under Federal law, and may also violate State and/or local law. I further understand that the repetitive purchase of firearms for the purpose
of resale for livelihood and profit without a Federal firearms license is a violation of law (See lnstrucrionsforQuesdon 16).
16. Transferee's/Buyer's Signature                                                                                   17. Certification Date


                                                    ion B - Must Be Completed By Transferor (Seller)
                                                                                                                                    ~aT-Q~ a
18. Type of firearm(s) to be transferred (check or mark all that apply):   19. If sale at a gun show or other qualifying event.
        Handgun        Long Gun              Other Firearm (Frame, Receiver, etc. Name of Event
                       (rifles or            See Instructionsfor Question 18.)
                       shotguns)                                                  City, State
20a. Identification (e.g., Kiginia Driver's license(VA DL)or other t,(ilid government-issued photo identification.) (See Instnuaionsfor Question 20.a)
Issuing Authority and Type of Identification            Number on Identification                                   Expiration Date of Identification (ifany)
                                                                                                                   Month           Day            Year

          Ix                 l~ ,l;    V                       ~5 G                1 ~f                            c~ ~.                        "Lo t ---
20b. Alternate Documentarttdsr(ifdriver's license or other identification document does not show current residence address)
                                                             PC S            0~I,CVS
20c. All Aliens: Type and dates ofdocuments that establish 90-day residency (e.g., utility bills or lease agreements). (See Instructionsfor Question 20.c)
Type(s) of Document                                                          Date(s) of residence indicated on documents


20d. Nonimmigrant Aliens :dust Provide: Type of documentation showing an exception to the nonimmigrant alien prohibition.(See Instructionsfor
Question 20.d.)

       Questions 21,22, or 23 Must Be Completed Prior To The Transfer Of The Firearm(s) (See Imtructions.for Questions 21, 22 and 23.)
21a. Date the transferee's identifying information in Section A was transmit- 21 b. The NICS or State transaction number (ifprovided) was:
     ted to NICS or the appropriate State agency:(Month/Dav/Year)
      Month            Day            Year
                                                                                           I-ZLi6 - v\rnR
21 c. The response 'nitially provided by NICS or the appropriate State              21 d. If initial NICS or State response was "Delnved,"the following
      agency was:                                                                         response was received from NICS or the appropriate State agency:
                                                                                         n Proceed                               (date)
           Proceed      0 Delayed
           Denied        (Theftrearm(s) may be transferred on                                 Denied                               (date)
                                           (.+MIDI date provided by NICS)
           Cancelled                                                                     n Cancelled                               (date)
                         fi State law permits (optional)]
                                                                                              No resolution was provided within 3 business days.
21e. (Complete ifapplicable.) After the firearm was transferred, the following response was received from NICS or the appropriate State agency on:
                           (date).            n Proceed               F I Denied           11 Cancelled
21f, The name and Brady identification number of the NICS examiner (Optional)                         tJ
                                         Terri                                                      r-T ,6
                                                                                                   1J
                                              (name)                                             (number)
22. n No NICS check was required because the transfer involved only NFA firearm(s). (See Instructionsfor Question 22.)

23. n No NICS check was required because the buyer has a valid permit from the State where the transfer is to take place, which qualifies as an
           exemption to NICS (See Instructionsfor Question 23.)
 Issuing State and Permit Type              Date of Issuance (ifany)   Expiration Date (ifany)              Permit Number (ifany)


                                            Section C - Must Be Completed Personally By Transferee(Buyer)
 If the transfer of the firearm(s) takes place on a different day from the date that the transferee (buye,) signed Section A,the transferee must complete
 Section C immediately prior to the transfer of the firearm(s). (See Instructionsfor Question 24 and 25.)
I certify that my answers to the questions in Section A of this form are still trnr.
                                                                                           r", - +-     -                                     USA00012134
     TransfereP•c/R....^-'^   oe-- .
24.
                     Case 5:18-cv-00555-XR Document 250-7 Filed 08/21/20 Page 3 of 15


                                                     Section D - Must Be Completed By Transferor (Seller)
                  26.                                   27.                                   28.                                       29.                   30.
   Manufacturer and/or Importer(Ifthe                  Model                            Serial Number                        Type(pistol,revolver, i0e,    Caliber or
 manufacturer and importer are dflferent,                                                                                   .shotgun, receiver,forme,        Gauge
     the FFL should include both.)                                                                                           etc.)(See instrucdonsfor
                                                                                                                             question 29)

          Fit A                                  Wth~ leot}a                         115rS'? 0°11                                (L•ev,0\ver 3$                  S VL




30a. Total Number of Firearms (Please handwrite by printing e.g., one, two, three, etc. Do not use numerals.)                30b. Is any part of this transaction a
                                                                                                                             Pawn Redemption?
                                                                                                                                                       ❑ Yes FXNo
       or Use by FFL (See Instructionsfor Question 30c.)
                                                                                                                630
                                                                                                                0                              ;Z-695-
                   Complete ATF Form 3310.4 For Multiple Purchases of Handguns Within 5 Consecutive Business Days
31. Trade/corporate name and address of transferor (seller) (Hand stamp may be 32. Federal Firearms License Number (Must contain at leastfirst
    used.)                                                                         three and lastfive digits ofFFL Number X-XX-XXUff..)
                    Holloman Exchange
                                                                                 (  Hand stamp may be used.)
                       Bldg 227 Drawer V
                       551     Str et
                           4tb 14                                                                   FFL 5-85-035-01-2M-01293
                        olloA
                       H        d A~B
                       New I        xic6 88330
                The Person Tfaiisferring The Firearm(s) Must Complete Questions 33-36. For Denied/Cancelled Transactions,
                                      The Person Who Completed Section B Must Complete Questions 33-35.
I certify that my answers in Sections B and D are true, correct, and complete. 1 have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. On the basis of:(1) the statements in Section A(and Section C if the transfer does not occur on the day Section A was com-
pleted);(2) my verification of the identification noted in question 20a(and my reverification at the time of transfer ifthe transfer does not occur on the
day Section A was completed); and (3)the information in the current State Laws and Published Ordinances,it is my belief that it is not unlawful for
me to sell, deliver, transport,or otherwise dispose of the firearm(s) listed on this form to the person identified in Section A.
33. Transferor's/Seller's Name(Please print) 34.~sfcro                     eller's   gnaturc            35. Transferor's/Seller's Title             36. Date Transferred

   Sc eoAs
         - ,

             NOTICES,INSTRUCTIONS AND DEFINITIONS                                     buyer wish to make a record of your discovery, then photocopy the inaccurate
                                                                                      form and make any necessary additions or revisions to the photocopy. You only
Purpose of the Form: The information and certification on this form are               should make changes to Sections B and D. The buyer should only [Hake changes
designed so that a person licensed under 18 U.S.C. § 923 may determine if he          to Sections A and C. Whoever made the changes should initial and date the
or she may lawfully sell or deliver a firearm to the person identified in             changes. The corrected photocopy should be attached to the original Form 4473
Section A. and to alert the buyer of certain restrictions on the receipt and          and retained as part of your permanent records.
possession of firearms. This form should only be used for sales or transfers
where the seller is licensed under 18 U.S.C. § 923. The seller of a firearm           Over-the-Counter Transaction: The sale or other disposition of a firearm by a
must determine the lawfulness of the transaction and maintain proper records          seller to a buyer, at the seller's licensed premises. This includes the sale or other
of the transaction. Consequently, the seller must be familiar with the                disposition of a rifle or shotgun to a nonresident buyer on such premises.
provisions of 18 U.S.C. §§ 921-931 and the regulations in 27 CFR Part 478.
In determining the lawfulness of the sale or delivery of a long gun (rifle or         State Laws and Published Ordinances: The publication (ATF P 5300.5) of
shotgun) to a resident of another State, the seller is presumed to know the           State firearms laws and local ordinances ATF distributes to licensees.
applicable State laws and published ordinances in both the seller's State and
the buyer's State.                                                                    Exportation of Firearms: The State or Commerce Departments may require you
                                                                                      to obtain a license prior to export.
After the seller has completed the firearms transaction, he or she must make
the completed, original ATF Form 4473 (which includes the ,~'otices, General                                               Section A
Instructions, and Definitions), and any supporting documents, part of his or
her permanent records. Such Forms 4473 must be retained for at least 20              Question 1. Transferee's Full Name: The buyer must personally complete
years. Filing may be chronological (by dare), alphabetical (!?v name), or            Section A of this form and certify (sign) that the answers are true, correct, and
numerical (by transaction serial number), as Tong as all of the seller's             complete. However, if the buyer is unable to read and/or write, the answers
completed Forms 4473 are filed in the same manner. FORMS 4473 FOR                    (other than the signature) may be completed by another person, excluding the
DENIED/CANCELLED TRANSFERS bIIJST BE RETAINED: If the transfer                       seller. Two persons (other than the seller) must then sign as witnesses to the
of a firearm is deniedlcancelled by TICS, or if for any other reason the             buyer's answers and signature.
transfer is not complete after a NICS check is initiated, the licensee must
retain the ATF Form 4473 in his or her records for at least 5 years. Forms            When the buyer of a firearm is a corporation, company, association, partnership,
4473 with respect to which a sale, delivery, or transfer did not take place shall     or other such business entity, an officer authorized to act on behalf of the business
be separately retained in alphabetical (by rranre) or chronological (by dare of       must complete Section A of the form with his or her personal information, sign
transferee's certification) order.                                                    Section A, and attach a written statement, executed under penalties of perjury,
                                                                                      stating: (A)the firearm is being acquired for the use of and will be the property
If you or the buyer discover that an ATF Form 4473 is incomplete or                   of that business entity and (B)the name and address of that business entity.
improperly completed after the firearm has been transferred. and you or the                                                            ATF Form 4473(5300.9) Part 1
                                                                                                                                       Revised August 2008

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 U.S. Department of Justice                                                      Report of Investigation
 Bureau of Alcohol, Tobacco, Firearms and Explosives


 Title of lnvesUgation                                                                          lnvesUgaUon Number     Report   Number
 Mass Shooting-First Baptist Church, Sutherland Springs, Texas                                  782060-18-0016                      I




SUMMARY OF EVENT:

Opening ROI- Mass Shooting at First Baptist Church Sutherland Springs, Texas


NARRATIVE:

     I.    On November 05, 2017, Special Agents from the San Antonio Field Office responded to a mass shooting
          event at the First Baptist Church located at 216 4th St, Sutherland Springs, Texas 78161. The Texas
          Rangers have primary jurisdiction with ATF, FBI, and other State and Local Agencies assisting.

    2. At approximately 11 :30 am on November 05, 2017, the suspect Devin Patrick KELLEY (W/M, DOB
       2/12/91) began shooting at the location. KELLEY fired into the church from the front and side of the
       building. KELLEY then entered the Church and began shooting the Church attendees. A good
       Samaritan living near the Church heard the gunshots and retrieved his personal firearm and engaged in a
       gun battle with KELLEY. KELLEY got into his vehicle and drove away. The good Samaritan and
       another individual chased KELLEY. KELLEY finally wrecked his vehicle and committed suicide.
       According to the medical examiner KELLEY had three bullet wounds with one being self-inflicted.

    3. To date there have been reported 26 deceased not including KELLEY and 20 wounded.

    4. ATF s.:A's assisted with clearing and securing both crime scenes (First Baptist Church and KELLEY's
       vehicle). ATF SiA's also assisted with a neighborhood canvas and interviewing witnesses.

    5. Three firearms have been recovered by Texas Rangers:

          a.  Ruger, Model AR556, 5.56 caliber rifle, serial number 825-06623, purchased by KELLEY at
             Academy #41, San Antonio, Texas, purchased on 04/07/2016.
          b. Ruger, Model SR-22, .22 caliber pistol, serial number 366-99791, purchased by KELLEY at
             Academy #46, Selma, Texas, purchased on 10/18/2017.
          c. Glock, Model 19, 9mm caliber pistol, serial number XEG0S0, purchased by KELLEY at Specialty
             Sports & Supply, Colorado Springs, CO on 12/22/2014.

 Prepared by·                                      nue                                                Signature·                     Date
 Allen D. Darilck                                  Resident Agent in Charge, San Antonio I Field
                                                   Office
 Authorized by                                     TiUe                                               Signature                      Da1~
 Crisanto Perez                                    Asistant Special Agent in Charge, Houston Field
                                                   Division
 Second level reviewer (optional)                  TiUe                                               Signature                      [\l~e
 Frederick J. Milanowski Jr                        Special Agent in Charge, Houston Field Divisiori


                                                                       Page I of2                                    ATF EF 31202 ( 10-2004)
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Title of lnvesUgation                                                          lnvesUgation Number      Report Number
Mass Shooting-First Baptist Church, Sutherland Springs, Texas                  782060-18-0016                        I



      6.     ATF SI A's traced the Ruger AR556, Ruger SR22 pistol, and the Glock Model 19 listed above.

      7.     ATF S/A's found that KELLEY had also purchased a Ruger, Model GP 100, .357 caliber revolver, serial
            number 177-59301, at Specialty Sports & Supply, Colorado Springs, CO. This firearm has not been
            recovered.

      8. On November 06, 2017, Firearms Enforcement Officer Ronald Davis examined the Ruger rifle, Ruger
         pistol, and the Glock pistol listed above. All firearms field-tested negative for being fully automatic.
         Aside from some aftermarket accessories there were no abnormalities with any of the firearms.

      9. On November 07, 2017, ATF S/A Marian Kupczynski was able to secure fired casings from KELLEY's
         Ruger, Model AR556, 5.56 caliber rifle, serial number 852-06623. SiA Kupczynski drove the casings to
         the San Antonio Police Department NIBIN machine and had them entered.

      10. On November 7, 2017, ATF S/A Andrea Devilliers and canine Nanny assisted with a search of the
          Church. No additional firearms, ammunition, magazines, or casings were located.

      11. The Glock Model I 9 and the Ruger Model SR22 will be test fired at a future date by the Texas Rangers
          and entered into NIBIN. These two firearms were located in KELLEY's vehicle and no casings were
          immediately located. The vehicle will be processed after the Church scene in completed.

      12. Copies of 44 73 Forms as well as the trace information for the listed firearms are stored in the source file
          of this case.




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                                                                Page 2 of2                             ATF EF 3120 2 (10-2004)
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  U.S. Department         or Justice                                             Report of Investigation
  Bureau of Alcohol, Tobacco, Fireanns and 1·xplmives


 Title of Investigation                                                                          Investigation Number          Report Number
 Mass Shooting-first Baptist Church, Sutherland Springs, Texas                                   782060-18-0016                             2
                                                                                                                        _   ___.__   - - - --




DESCRIPTION OF ACTIVITY:

EXPLOSIVES DETECTION CANINE DEPLOYMENT.

SYNOPSIS:

Date(s)/Time(s) of Deployment: November 7, 2017; Approximately 6:50PM

Location of Deployment: 216 4 th Street, Sutherland Springs, Texas 78161

Description of Location: First Baptist Church of Sutherland Springs.

Deployment Activity: Search for evidence.

Associated Investigation Number:              Unknown

NARRATIVE:

Individual requesting canine team:            ATF San Antonio I Field Office Resident Agent in Charge Allen Darilek and
Texas Ranger Terry Snyder.

Areas searched: Open area and building exterior of the front southern side of the First Baptist Church of Sutherland
Springs located at 216 4th Street in Sutherland Springs, Texas.

Finds made: None

Alerts made: None

Property taken into custodx: None

Conditions at time of search: Cool, breezy and low light conditions.



 Prepared by·                                      Tille                                               Signature                            Date
 Andrea Devilliers                                 Special Agent, San Antonio Ill Field Office

 Authorized by·                                    Title                                               Signature                            [i,ll~
 Allen D. Darilek                                  Resident Agent in Charge, San Antonio I Field
                                                   Office
 Second level reviewer (optional)                  Title                                               Signature                            Cial-c"
 Frederick J. Milanowski Jr                        Special Agent in Charge, Houston Field Division


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                                                                                                                    T Report N-..i~ber·
Mass Shooting-First Baptist Church, Sutherland Springs, Texas                                  782060-18-00 16                      2
                                                     -    -   - - ---------~---                                    _l

Hazards encountered: Dried blood biological hazard and routine trash and debris.

Miscellaneous information:

                  I. On November 7, 2017, ATF Special Agent Canine Handler (SACH) Andrea Devilliers and
                     Explosives Detection Canine (EDC) "Nanny" were deployed to the First Baptist Church of
                     Sutherland Springs located at 216 4 th Street, in Sutherland Springs, Texas. ATF San Antonio I Field
                     Office Resident Agent in Charge (RAC) Allen Darilek and Department of Public Safety (DPS)
                     Texas Ranger Terry Snyder requested canine assistance to conduct a search for evidence as part of
                     an ongoing mass shooting investigation at that location.

                 2. On this date, at approximately 5:00PM, SACH Devilliers arrived at the First Baptist Church of
                    Sutherland Springs located at 2 I 6 4 th Street, in Sutherland Springs, Texas, and met with Texas
                    Rangers personnel at the scene who explained that Federal Bureau of Investigations (FBI) evidence
                    teams were currently deploying metal detectors to search the building exterior and open area of the
                    southern portion of the building and front yard for spent shell casings from the mass shooting
                    incident that occurred on November 5, 2017, at that location. Texas Rangers personnel requested
                    that SACH Devilliers deploy EDC "Nanny" to conduct a canine search for evidence once the FBI
                    terminated the metal detector search. SACH Devilliers was instructed to standby at the location until
                    the FBI concluded their search.

                 3. On this date, at approximately 6:45PM Texas Rangers personnel stated that the FBI had concluded
                    their search with the metal detectors and request that SACH Devilliers deployed EDC "Nanny" to
                    conduct a canine search for evidence of the open area and building exterior of the front southern side
                    of the building and front yard at the location.

                 4. After conducting a preliminary walk-through of the area for hazards, at approximately 6:50PM,
                    SACH Devilliers deployed EDC "Nanny" to conduct a canine search of the open area and building
                    exterior of the front southern side of the building and front yard at 216 4 th Street in Sutherland
                    Springs, Texas. During the course of the canine search, no canine alerts or finds were made and the
                    canine search was concluded at approximately 7:20PM.

                5. On this date, no other canine deployments or searches were conducted by SACH Devilliers and EDC
                   "Nanny" at this location as part of this investigation, and no other canine alerts or finds were made.




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                                                                            Page 2 of2                             ATF Cl· 3120.2 (10-2004,
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                                                  U.S. Department of Justice
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      =-                                          Bureau of Alcohol, Tobacco,
                                                  Fireanns and Explosives

                                                  Firearms and Ammunition Technology Division



                                           NOV 1 4 2017                      907020 :RKD
                                                                             3311: 307823
                                        November 8, 2017



MEMORANDUM TO:                 Special Agent in Charge
                               ATF Houston Field Division

           THROUGH:            Chief (AR
                               Fireanns Wchnology Criminal Branch

                 FROM:         Ronald K. Davis
                               Fireanns Enforcement Officer

               SUBJECT:        Visual inspection of fireanns involved in Sutherland Springs
                               First Baptist church shooting


On November 6, 2017, I perfonned a visual inspection on three fireanns in Sutherland
                                                                                      Springs,
Texas. The firearms were recovered in COMection with the homicide investigation of
                                                                                    the incident
occurring at the First Baptist Church of Sutherland Springs, Texas, on November 5, 2017.

Ruger 5.56 x 45mm caliber Model AR-556 rifle, Serial numbe r 852-06623

The above rifle was manufactured by Ruger in Mayodan, North Carolina as a semiau
                                                                                       tomatic
firearm. Manual field testing of the firearm indicated semiautomatic function, the fireann
                                                                                             was
not test fired by ATF personnel during this inspection. Additionally, the rifle was found
                                                                                           to
incorporate an aflennarket drop-in trigger assembly. No attempt was made to remove
                                                                                        the trigger
assembly to determine the manufacturer of the device. This was done to preserve the
                                                                                       integrity of
exhibit as recovered. Aftermarket trigger assemblies are generally installed to improv
                                                                                       e trigger
pull characteristics of the host fireann.




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ATF Houston Field Division

The firearm was noted to be equipped with the following:

        •   Bushnell electronic red dot sight with Hi-rise mount.
        •   Magpul fore-end having vertical fore grip installed.
        •   Magpul adjustable shoulder stock.
        •   Magpul Battery Assist Device
        •   After market trigger assembly
        •   Enlarged charging handle latch.
        •   2-point sling assembly.


   Ru er AR-556 Rifle, serial number 852-06623t note missin flash hider/muzzle break.


                                                                              --.-- --~.   -- .......




                                                                                   USA000 12802
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ATF Houston Field Division




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                                               4-
ATF Houston Field Division
FfCB provided stock photo of similar CMC brand trigger assembly provid
                                                                       ed          for visual
comparison.




Ruger .22 LR caliber Model SR-22 pistol, serial number 366-99791

The above pistol was manufactured by Ruger in Mayodan, North Carolina,
                                                                       as a semiautomatic
firearm. The Exhibit was accompanied by a compatible magazine loaded with
                                                                          .22 LR caliber
ammunition Wld an addition loose round of .22LR caliber ammunition, which
                                                                          was manufactured
by CCI in Lewiston! Idaho.

No attempt was made to remove the ammunition from the Exhibits magazine
                                                                           to function test the
fireann, which was equipped with a magazine safety device. This was done
                                                                         to preserve the
integrity of the evidence as recovered.

 Ruger .22 LR caliber Model SR-22                     azine and ammunition, ri ht side view.




                                                                                          USA000 12804
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ATF Houston Field Division
   Ruger .22LR caUber Model SR-22 istol with ma                             ine and ammunition, left side view.

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                  Head stamp of loose round of .22 LR caliber ammunition
                    with R er SR-22 istol. serial number 366-99791.




Glock 9x19mm caliber Model 19 pistol, serial number XEG0S0

The above pistol was manufactured by Glock in Austria and imported into the Unites
                                                                                    States as a
semiautomatic fireann by Glock Inc. in Smyrna, Georgia. The Exhibit was accompanied
                                                                                        by a
compatible high capacity magazine loaded with 9xl 9mm caliber ammunition, and an
                                                                                    addition
loose round of 9x 19 caliber ammunition which was manufactured by Winchester in Oxford
                                                                                           ,
Mississippi. The high capacity magazine was numbered to 31 cartridges on its rear exterio
                                                                                         r
surface and was noted to have a+ capacity marked floor p]ate.




                                                                                                          USA000 12805
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ATF Houston Field Division
The pistol is equipped with an aftermarket adhesive grip decal installed on the exterior of the
Exhibits grip, which appears to manufactured by Talon Grips. Manual field testing of the fireann
indicated semiautomatic function, the firearm was not test fired by ATF personnel during this
inspection.

              Glock Model 19        serial number XEG050 markin on receiver.




              Glock 9xl9 caliber Model 19 pistol with magazine and ammunition,
                           serial number XEG0S0 r· ht side view.
                                                                   !!!!I!!!!!!!!!!!!~----...




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ATF Houston Field Division
           Glock 9xl9 caliber Model 19 pistol with magazine and ammunition,
                         serial number XEG0S0 left side view.




      Exhibit Glock Model 19 serial number XEG0SO high capacity Glock magazine
                         with + ca aci floor lat rear view.




                                                                                 •   'f'




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ATF Houston Field Division
Wincheste r brand 9x19mm caliber cartrid e head stamp present with Exhibit Glock pistol.
                                               1, ...
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    \..... .    ......--:-.Jr




               Head stamp of the above cartridge. This cartridge was manufactured by
                                 Winchester in Oxror Mississi I.




cc: ASAC Crisanto Perez, A TF Houston Field Division




                                                                                       USA000 12808
